19-13895-jlg      Doc 382      Filed 03/12/21 Entered 03/12/21 17:13:43                 Main Document
                                            Pg 1 of 2

                         EMMET, MARVIN & MARTIN, LLP
                                     COUNSELLORS AT LAW
                                                                                                         John Dellaportas
                                      120 Broadway 32nd Floor                                                     Partner
                                    New York, New York 10271                                            Tel: 212-238-3092
                                           212-238-3000                         Fax: 212-238-3100 Fax (alt.) 212-406-6953
                                                                                           jdellaportas@emmetmarvin.com
                                      www.emmetmarvin.com

March 12, 2021

Via ECF
Honorable James J. Garrity, Jr.
U.S. Bankr. Ct. for the Southern Dist. of N.Y.
One Bowling Green
New York, NY 10004
                         Re: In re Orly Genger, Case No.: 19-13895-jlg
Dear Judge Garrity:

        On behalf of Judgment Creditor Sagi Genger (“Sagi”), we respectfully submit this letter in
brief response to the March 10, 2021 letter of Michael Bowen, Esq., who states that he is now
representing the debtor Orly Genger (the “Debtor”). We defer to counsel for non-party Dalia
Genger (“Dalia”) on the matter of her deposition subpoenas, and instead only address herein
certain false allegations made in Mr. Bowen’s letter about Sagi personally.

        Most significantly, Mr. Bowen has announced that Orly’s defense to Sagi’s motion to
dismiss will be “that Sagi used Dalia and conspired with her to make knowingly false claims under
the so-called 2004 letter agreements”. The so-called “false claims” are claims that the U.S. District
Court twice decided to be true, whose decisions the U.S. Court of Appeals for the Second Circuit
twice unanimously affirmed. (Indeed, Mr. Bowen personally litigated those matters on behalf of
the Debtor.) Those legal rulings, and the factual findings made therein, are recounted on pp. 2-6
of this Court’s Memorandum Decision and Order Granting Motion for Protective Order entered
on February 9, 2021 (Doc. 348), and accordingly will not be repeated herein. Instead, we note
only that the Debtor is precluded from relitigating in Bankruptcy Court “judgments rendered by
courts of competent jurisdiction”. Teachers Ins. and Annuity Ass'n of Am. v. Butler, 803 F.2d 61,
65 (2d Cir.1986); Kelleran v. Andrijevic, 825 F.2d 692, 695 (2d Cir. 1987).

       Mr. Bowen also writes that, if deposed, “Dalia will testify that she has received none of the
money she demanded under the 2004 agreements”. Here, we note that, in discovery in this case,
Sagi produced bank records reflecting payments from him to Dalia under the 2004 agreements of
approximately $600,000, along with documentation reflecting Sagi’s grant of security interests to
Dalia sufficient to ensure collection of the balance of the debt.

        Lastly, Mr. Bowen writes that Dalia relies “on Sagi to manage her money.” No one has
ever disputed the fact that, at times, Dalia requires Sagi’s help with financial matters. She is a
retired homemaker, 74 years old, with serious health issues, who has spent the last twelve years of
her life defending lawsuits brought by her ex-husband and daughter. Dalia ultimately prevailed
on all of those suits, but at a financial and emotional toll. It is neither surprising, nor relevant, that
Dalia sometimes relies on her son to assist her in complex matters.


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19-13895-jlg   Doc 382          Filed 03/12/21 Entered 03/12/21 17:13:43   Main Document
                                             Pg 2 of 2

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      We thank the Court for its consideration.

                                                   Respectfully,


                                                   John Dellaportas
cc:   All Counsel of Record (via ECF)
